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 5                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WASHINGTON
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 7    KEVIN MASON, and AMERICAN
      FAMILY MUTUAL INSURANCE                       NO: 1:20-CV-3210-TOR
 8    COMPANY, as subrogee of Kevin
      Mason,                                       ORDER OF DISMISSAL
 9                                                 WITH PREJUDICE
                                 Plaintiffs,
10
            vs.
11
      TRIVEE TRANSPORT, LTD, a
12    foreign corporation, and SANDRA
      VAN VEEN, an individual,
13
                                 Defendants.
14

15         BEFORE THE COURT is the parties’ Stipulation for Dismissal with

16   Prejudice and without Costs (ECF No. 19). The parties agree that all claims

17   against Defendants may be dismissed in their entirety with prejudice and without

18   costs and/or attorney fees as to any party. The Court has reviewed the record and

19   files herein and is fully informed.

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     ORDER OF DISMISSAL WITH PREJUDICE ~ 1
      Case 1:20-cv-03210-TOR      ECF No. 20    filed 11/15/21   PageID.140 Page 2 of 2




 1         According to Rule 41(a)(1)(A)(ii), a plaintiff may dismiss an action by filing

 2   a stipulation signed by all parties who have appeared.

 3   ACCORDINGLY, IT IS HEREBY ORDERED:

 4      1. Pursuant to Rule 41(a)(1)(A)(ii) and the parties’ stipulation, all claims

 5         against Defendants Trivee Transport, Ltd. and Sandra Van Veen are

 6         DISMISSED with prejudice and without costs and/or attorney fees as to any

 7         party.

 8      2. All deadlines, hearings and trial are VACATED.

 9         The District Court Executive is directed to enter this Order and Judgment of

10   Dismissal, furnish copies to counsel, and CLOSE the file.

11         DATED November 15, 2021.

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13                                  THOMAS O. RICE
                                 United States District Judge
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     ORDER OF DISMISSAL WITH PREJUDICE ~ 2
